     Case 4:18-cr-00339IN THE
                          Document 291STATES
                              UNITED    Filed on 03/07/22COURT
                                               DISTRICT   in TXSD Page 1 of 1
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

                                              §
                                              §
                     Plaintiff,               §
        ~W\,-\ eJ 5"t(l. 1-e..s, of A~r,°"-   !   CASE NO.   L8-Cl?-2A3Cf
V.                                            §
       CL ,·11 +~ C!.a.rr                     §
                                              §
                                              §
                     Defendant.               §

                                         ORDER

                                  JURYNOTENO.        I
 - ( J 4 - ~ ~ ..... ~ -




           3- 7-
Date: - - - - d-0!)..:L
              ----


                                   COURT'S RESPONSE




                                                          SIM LAKE
                                                  UNITED ST ATES DISTRICT JUDGE
